C§O§ Case 1:04-cr-10018-.]DT Document 46 Filed 06/15/05 Page 1 of 3 Page|D 36

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

EAsTERN DIvISlON
UNITED STATES OF AMERlCA, )
Plaintiff, §
v. § No. 04cr10018-T /“
NICHOLAS DEvoN GOFF, § /
Defendant. § /

/

UNlTED STATES’ MOTION TO CONT[NUE SETTING D?/I`E

 

  
   
     
  
      
   
       
     

COMES NOW, the United States of America, by and through Te ll L. Harris, United States

Attorney, and Jarnes W. Powell, Assistant United States Attorn for the Western District of
Tennessee, and moves this Honorable Court as follows:

The defendant, NICHOLAS DEVON GOFF, is cheduled for a re-sentencing hearing date
on Friday, July 22, 2005. Counsel for the gove

ent has been advised that oral argument before

the Sigh Circ:ui_t _Court of Appcals will be d that same day. Due to this scheduling conflict the

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ovenament;isctnm requesting a rese ng of this case.
rs C*: ;Jc/D` P

e filing of this motion With Ms. Diane Smothers counsel for the

§ "'_"1\401}£1_11 has discussed

._~ ['~_¢,.:

 

"_*d§efend'ant Whol_]as expre ed no objection thereto. Counsel for the government will be unavailable
f § ""
CD

from July 19th thro 1 July 22nd, as Well as July 27th through July 28th Ms. Srnothers has advised

that she Will be navailable on July 15th

THE FORE, for the grounds set forth above, the government respectfully requests that the

defendants’ scheduled Re-sentencing Hearing date be reset to a later date.MOTl ON G RANTED

DATE= LSM

This document entered on the docket sheet ln compliance b _ M

wlthRutessandlorsz(b)FRCrFon OiF i '05 ‘ James D_Todd
U.S Distfr`ot Judge @

Case 1:04-cr-10018-.]DT Document 46 Filed 06/15/05 Page 2 of 3 Page|D 37

Respectfu]ly Submitted,

TERRELL L. HARRIS
United States Attomey

//%&€ /\ M-F_/-L,`
JAMESW. POWELL

/Assistant United States Attomey

'::/ 109 South High]and Avenue, Suite 300
Jackson, Tennessee 38301

(731) 422-6220
Termessee Bar No. 9614

CERTIFICATE OF SERVICE
l, J ames W. Powell, Assistant United States Attorney for the Western District of Termessee,
hereby certify that a copy of the foregoing has been delivered to MS. Dia;ne Smothers, Counsel for

the defendant, 109 South Highland Avenue, Jackson, Tennessee, this 15th day of June 2005.

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</ J ames W. Powe]l
Assistant United States Attomey

 

DISTRIC CoUR - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 1:04-CR-100] 8 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

J. Patten BroWn
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Memphis7 TN 38103

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

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Honorable J ames Todd
US DISTRICT COURT

